Case:11-09962-BKT12 Doc#:233 Filed:11/17/14 Entered:11/17/14 15:00:50                Desc: Main
                            Document Page 1 of 1


                            IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF PUERTO RICO

         IN THE MATTER OF:                                     CASE NO.: 11-09962
                                                                         11-09963
         VAQUERÍA ALMEYDA, INC.
         RAMON LUIS BARRETO GINORIO                            CHAPTER 12

         Debtor(s)

                                           INFORMATIVE MOTION

        TO THE HONORABLE COURT:

                NOW COMES creditor ORIENTAL BANK ( BEFORE, BANCO BILBAO

        VIZCAYA ARGENTARIA), represented by the undersigned law firm and respectfully

        sets forth and prays as follows:

                1. Debtor has requested from the bank a release of its lien over 850 liters of milk

                   quota that remain from the prior sale of 8000 liters whereby the bank’s claim

                   was paid in full.

                2. The bank will proceed to release its lien of the 800 liters of milk quota.

                In San Juan, Puerto Rico on the 17th day of November, 2014.

                 I HEREBY CERTIFY that on this same date I electronically filed the foregoing
        document with the Clerk using CM/ECF system, which will send notification of such
        filing to Debtor(s) attorney, the Chapter 12 Trustee and to all CM/ECF participants.

                                                                         /s/William Santiago-Sastre
                                                                      William Santiago-Sastre, Esq.
                                                                                  USDC PR 201106

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